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                     EXHIBIT 3
          Serviporno Terms of Service
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                                                                                                     PORNO XXX GRATIS PARA TODOS                 ES

 MEJORES VÍDEOS CATEGORÍAS PORNSTARS CANALES LIVE SEX MEET & FUCK

                     Este año el espectaculo (porno) del descanso de la SUPER BOWL corre a cargo CumLouder.com ‑ GRATIS



Terms of Use
1. ACCEPTANCE
By using and/or visiting the Serviporno website (collectively, including but not limited to all Content, Uploads and User Submissions available through
serviporno.com, "Serviporno", the website) you agree to the terms and conditions contained herin and the terms and conditions of Serviporno's privacy
policy incorporated herin, and all future amendments and modifications (collectively referred to as the "Agreement"). By entering, you agree to be
bound by these terms and conditions. If you do not agree to be bound the terms and conditions contained herein, then do not use serviporno.com.

The terms and conditions of this Agreement are subject to change by Serviporno at any time in its sole discretion and you agree be bound by all
modifications, changes and/or revisions. If you do not accept to be bound by any and all modifications, changes and/or revisions of this agreement,
you many not use serviporno.com.

The terms and conditions contained herein apply to all users of Serviporno whether a 'visitor' or a 'member' and you are only authorized to use
serviporno.com if you agree to abide by all applicable laws and be legally bound by the terms and conditions of this Agreement.

2. DESCRIPTION
The Serviporno website allows for uploading, sharing and general viewing various types of content allowing registered and unregistered users to share
and view visual depictions of adult content, including sexually explicit images. In addition, Serviporno contains video content, information and other
materials posted/uploaded by users. Serviporno allows its users to view the Content and Website subject to the terms and conditions of this
Agreement.

The Serviporno website may also contain certain links to third party websites which are in no way owned or controlled by Serviporno. Serviporno
assumes no responsibility for the content, privacy policies, practices of any and all third party websites. Serviporno cannot censor or edit the content of
third party sites. You acknowledge that Serviporno will not be liable for any and all liability arising for your use of any third‑party website.

serviporno.com is for your personal use and shall not be used for any commercial endeavor except those specifically endorsed or approved by
serviporno.com. Any illegal and/or unauthorized use of Serviporno is prohibited including but not limited to collecting usernames and e‑mail addresses
for sending unsolicited emails or unauthorized framing or linking to the Serviporno website is prohibited.

3. ACCESS
In order to use this website, you affirm that you are at least eighteen (18) year of age and/or over the age of majority in the jurisdiction you reside and
from which you access the website where the age of majority is greater than eighteen (18) years of age. If you are under the age of 18 and/or under the
age of majority in the jurisdiction you reside and from which you access the website, then you are not permitted to use the website.

4. CONDUCT
You acknowledge and agree that you shall be responsible for your own user submissions and the consequences of posting, uploading, publishing
transmitting or other making them available on Serviporno. You agree that you shall not (nor others using your account) post, upload, publish, transmit
or make available in any way on Serviporno content which is illegal, unlawful, harassing, harmful, threatening, tortuous, abusive, defamatory, obscene,
libelous, invasive of one's privacy including but not limited to personal information, hateful, racial. You also agree that you shall not post, upload,
publish, transmit or make available in any way on Serviporno software containing viruses or any other computer code, files, or programs designed to
destroy, interrupt, limit the functionality of, or monitor, or persistently reside in or on any computer software or hardware or telecommunications
equipment. You agree that you shall not (nor others using your account) post, upload, publish, transmit or make available in any way on Serviporno
content which is intentionally or unintentionally violating any applicable local, state, national, or international law, or any regulations or laws having the
force of law where you reside and elsewhere, including but not limited to any laws or regulations relating to securities, privacy, and export control;
engage in, promote, You agree that you shall not (nor others using your account) post, upload, publish, transmit or make available in any way on
Serviporno content depicting illegal activities, promote or depict physical harm or injury against any group or individual, or promote or depict any act of
cruelty to animals; You agree not to use Serviporno in any way that exposes Serviporno to criminal or civil liability.

You agree that Serviporno shall have the right to determine in its sole and unfettered discretion, what action shall be taken in the event of any
discovered or reported violation of the terms and conditions contained herein.

5. INTELLECTUAL PROPERTY
The Content contained on the Serviporno with the exception of User Submissions including but not limited to the text, software, scripts, graphics,
music, videos, photos, sounds, interactive features and trademarks, service marks and logos contained therein, are owned by and/or licensed to
Serviporno, subject to copyright and other intellectual property rights under United States, Canada and foreign laws and international conventions.
Content on the Website is provided to you AS IS for your information and personal use only and may not be used, copied, reproduced, distributed,
transmitted, broadcast, displayed, sold, licensed, or otherwise exploited for any other purposes whatsoever without the prior written consent of the
respective owners. Serviporno reserves all rights not expressly granted in and to the Website and the Content. You agree to not engage in the use,
copying, or distribution of any of the Content other than expressly permitted herein, including any use, copying, and/or distribution of User
Submissions of third parties obtained through the Website for any commercial purposes. If you download or print a copy of the Content for personal
use, you must retain all copyright and other proprietary notices contained therein. You agree not to disable, circumvent, or otherwise interfere with

http://www.serviporno.com/terms/                                                                                                                           1/4
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security related features of the Serviporno or features that prevent or restrict use or copying of any Content or enforce limitations on use of the
Serviporno Website or the Content therein.

6. USER SUBMISSIONS
Serviporno permits the submission of video and other communications and the hosting, sharing and publishing of such user submissions. You
understand that whether or not such User Submissions are published and/or uploaded, Serviporno does not guarantee any confidentiality with respect
to any submissions.

Serviporno allows/permits you to link to materials on the Website for personal, non‑commercial purposes only. More over, Serviporno provides an
"Embeddable Player" feature, which you may incorporate into your own personal, non‑commercial websites for use in accessing the materials on the
Website, provided that you include a prominent link back to the Serviporno website on the pages containing the Embeddable Player. Serviporno reserves
the right to discontinue any aspect of the Serviporno website at any time. In addition, you may not modify, build upon or block any portion of the
Embeddable Player in any way.

You shall be solely responsible for any and all of your own User Submissions and the consequences of posting, uploading and publishing them.
Furthermore, with User Submissions, you affirm, represent and/or warrant that:

    a. you own or retain the necessary licenses, rights, consents, and permissions to use and authorize Serviporno to use all trademarks, copyrights,
    trade secrets, patents, or other proprietary rights in and to any and all User Submissions to enable inclusion and use of the User Submissions in the
    manner contemplated by the Website and these Terms of Service; and
    b. you will not post, or allow anyone else to post, any material that depicts any person under the age of 18 years and you have inspected and are
    maintaining written documentation sufficient to confirm that all subjects of your submissions are, in fact, over the age of 18 years.
    c. You have the written consent, release, and/or permission of each and every identifiable individual person in the User Submission to use the name
    or likeness of each and every such identifiable individual person to enable inclusion and use of the User Submissions in the manner contemplated by
    the Website and these Terms of Service. For clarity, you retain all of your ownership rights in your User Submissions. By submitting the User
    Submissions to Serviporno, you hereby grant Serviporno a worldwide, non‑exclusive, royalty‑free, sublicenseable and transferable license to use,
    reproduce, distribute, prepare derivative works of, display, and perform the User Submissions in connection with the Serviporno Website and
    Serviporno's (and its successor's) business, including without limitation for promoting and redistributing part or all of the Serviporno Website (and
    derivative works thereof) in any media formats and through any media channels. You also hereby grant each user of the Serviporno Website a non‑
    exclusive license to access your User Submissions through the Website, and to use, reproduce, distribute, prepare derivative works of, display and
    perform such User Submissions as permitted through the functionality of the Website and under these Terms of Service. The foregoing license
    granted by you terminates once you remove or delete a User Submission from the Serviporno Website.

In submitting material (video or other communication), you further agree that you shall not:

    a. submit material that is copyrighted, protected by trade secret or otherwise subject to third party proprietary rights, including privacy and publicity
    rights, unless you are the owner of such rights or have permission from their rightful owner to post the material and to grant Serviporno all of the
    license rights granted herein;
    b. publish falsehoods or misrepresentations that could damage Serviporno or any third party;
    c. submit material that is obscene, illegal, unlawful, , defamatory, libelous, harassing, hateful, racially or ethnically offensive, or encourages conduct
    that would be considered a criminal offense, give rise to civil liability, violate any law, or is otherwise inappropriate;
    d. post advertisements or solicitations of business;
    e. Impersonate another person. Serviporno does not endorse any User Submission or any opinion, recommendation, or advice expressed therein,
    and Serviporno expressly disclaims any and all liability in connection with User Submissions. Serviporno does not permit copyright infringing
    activities and infringement of intellectual property rights on its Website, and Serviporno will remove all Content and User Submissions if properly
    notified that such Content or User Submission infringes on another's intellectual property rights. Serviporno reserves the right to remove Content
    and User Submissions without prior notice or delay. Serviporno will also terminate a User's access to its Website, if they are determined to be an
    infringer. While pornographic and adult content are accepted, Serviporno also reserves the right to decide in its sole and unfettered discretion,
    whether Content or a User Submission is appropriate and complies with these Terms of Service for violations other than copyright infringement and
    violations of intellectual property law, such as, but not limited to, obscene or defamatory material, or excessive length. Serviporno may remove such
    User Submissions and/or terminate a User's access for uploading such material in violation of these Terms of Service at any time, without prior
    notice and at its sole discretion.

You understand and acknowledge that when using serviporno.com, you will be exposed to User Submissions from a variety of sources, and that
Serviporno is not responsible for the accuracy, usefulness, safety, or intellectual property rights of or relating to such User Submissions. You further
understand and acknowledge that you may be exposed to User Submissions that are inaccurate, offensive, indecent, or objectionable, and you agree to
waive, and hereby do waive, any legal or equitable rights or remedies you have or may have against Serviporno with respect thereto, and agree to
indemnify and hold Serviporno, its Owners, affiliates, operators, and/or licensors, harmless to the fullest extent allowed by law regarding all matters
related to your use of the website.

You agree that Serviporno may at its sole discretion have the right to refuse to publish, remove, or block access to any User Submission that is available
via the Website or other Serviporno network or services at any time, for any reason, or for no reason at all, with or without notice.

Serviporno provides its website as a service to its users. However, Serviporno assumes no responsibility whatsoever for monitoring the Serviporno
Services for inappropriate content or conduct. If at any time Serviporno chooses, in its sole discretion, to monitor the Serviporno Services, however,
Serviporno assumes no responsibility for the content, no obligation to modify or remove any inappropriate content, and no responsibility for the
conduct of the User submitting any such content. Serviporno may review and delete any User Submissions that, in its sole judgment, violates this
Agreement or may be otherwise offensive or illegal, or violate the rights, harm, or threaten the safety of any User or person not associated with the
Website (collectively "Inappropriate User Submissions"). You are solely responsible for the User Submissions that you make visible on the Website or to
any third‑party website via an embedded player provided by the Website or any other material or information that you transmit or share with other

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Users or unrelated third‑parties via the Website.

7. ACCOUNT TERMINATION POLICY
    a. a User's access to Serviporno will be terminated if, under appropriate conditions, the User is determined to infringe repeatedly.
    b. Serviporno reserves the right to decide whether Content or if a User's Submission is appropriate and complies with these Terms and Conditions in
    regards to violations other than copyright infringement or privacy law, such as, but not limited to, hate crimes, pornography, obscene or defamatory
    material, or excessive length. Serviporno may remove such User Submissions and/or terminate a User's access for uploading such material in
    violation of these Terms and Conditions at any time, without prior notice and at its sole discretion.

8. POLICY
Serviporno abides by a ZERO TOLERANCE policy relating to any illegal content. Child Pornography, bestiality, rape, torture, snuff, death and/or any
other type of obscene and/or illegal material shall not be tolerated by Serviporno. Serviporno shall not condone child pornography and will cooperate
with all governmental agencies that seek those who produce child pornography.

9. WARRANTIES
You represent and warrant that all of the information provided by you to Serviporno to participate in the Serviporno website is accurate and current and
you have all necessary right, power, and authority to enter into this Agreement and to perform the acts required of you hereunder.

As a condition to using the Serviporno, you must agree to the terms of Serviporno's privacy policy and its modifications. You acknowledge and agree
that the technical processing and transmission of the Website, including your User Submissions, may involve transmissions over various networks; and
changes to conform and adapt to technical requirements of connecting networks or devices. You further acknowledge and agree that other data
collected and maintained by Serviporno with regard to its users may be disclosed in accordance with the Serviporno Privacy Policy.

10. WARRANTY DISCLAIMER
YOU AGREE THAT YOUR USE OF THE Serviporno WEBSITE SHALL BE AT YOUR SOLE RISK. TO THE FULLEST EXTENT PERMITTED BY LAW, Serviporno, ITS
OFFICERS, DIRECTORS, EMPLOYEES, AND AGENTS DISCLAIM ALL WARRANTIES, EXPRESS OR IMPLIED, IN CONNECTION WITH THE WEBSITE AND YOUR USE
THEREOF. Serviporno MAKES NO WARRANTIES OR REPRESENTATIONS ABOUT THE ACCURACY OR COMPLETENESS OF THIS SITE'S CONTENT OR THE
CONTENT OF ANY SITES LINKED TO THIS SITE AND ASSUMES NO LIABILITY OR RESPONSIBILITY FOR ANY

    a. ERRORS, MISTAKES, OR INACCURACIES OF CONTENT,
    b. PERSONAL INJURY OR PROPERTY DAMAGE, OF ANY NATURE WHATSOEVER, RESULTING FROM YOUR ACCESS TO AND USE OF OUR WEBSITE,
    c. ANY UNAUTHORIZED ACCESS TO OR USE OF OUR SECURE SERVERS AND/OR ANY AND ALL PERSONAL INFORMATION AND/OR FINANCIAL
    INFORMATION STORED THEREIN,
    d. ANY INTERRUPTION OR CESSATION OF TRANSMISSION TO OR FROM OUR WEBSITE, (IV) ANY BUGS, VIRUSES, TROJAN HORSES, OR THE LIKE WHICH
    MAY BE TRANSMITTED TO OR THROUGH OUR WEBSITE BY ANY THIRD PARTY, AND/OR
    e. ANY ERRORS OR OMISSIONSIN ANY CONTENT OR FOR ANY LOSS OR DAMAGE OF ANY KIND INCURRED AS A RESULT OF THE USE OF ANY CONTENT
    POSTED, EMAILED, TRANSMITTED, OR OTHERWISE MADE AVAILABLE VIA THE Serviporno WEBSITE. Serviporno DOES NOT WARRANT, ENDORSE,
    GUARANTEE, OR ASSUME RESPONSIBILITY FOR ANY PRODUCT OR SERVICE ADVERTISED OR OFFERED BY A THIRD PARTY THROUGH THE Serviporno
    WEBSITE OR ANY HYPERLINKED WEBSITE OR FEATURED IN ANY BANNER OR OTHER ADVERTISING, AND Serviporno WILL NOT BE A PARTY TO OR IN
    ANY WAY BE RESPONSIBLE FOR MONITORING ANY TRANSACTION BETWEEN YOU AND THIRD‑PARTY PROVIDERS OF PRODUCTS OR SERVICES. AS WITH
    THE PURCHASE OF A PRODUCT OR SERVICE THROUGH ANY MEDIUM OR IN ANY ENVIRONMENT, YOU SHOULD USE YOUR BEST JUDGMENT AND
    EXERCISE CAUTION WHERE APPROPRIATE. THE FOREGOING LIMITATION OF LIABILITY SHALL APPLY TO THE FULLEST EXTENT PERMITTED BY LAW IN
    THE APPLICABLE JURISDICTION. YOU SPECIFICALLY ACKNOWLEDGE THAT Serviporno SHALL NOT BE LIABLE FOR USER SUBMISSIONS OR THE
    DEFAMATORY, OFFENSIVE, OR ILLEGAL CONDUCT OF ANY THIRD PARTY AND THAT THE RISK OF HARM OR DAMAGE FROM THE FOREGOING RESTS
    ENTIRELY WITH YOU.

11. LIMITATION OF LIABILITY
IN NO EVENT SHALL Serviporno, ITS OFFICERS, DIRECTORS, EMPLOYEES, OR AGENTS, BE LIABLE TO YOU FOR ANY DIRECT, INDIRECT, INCIDENTAL,
SPECIAL, PUNITIVE, OR CONSEQUENTIAL DAMAGES WHATSOEVER RESULTING FROM ANY

    a. ERRORS, MISTAKES, OR INACCURACIES OF CONTENT,
    b. PERSONAL INJURY OR PROPERTY DAMAGE, OF ANY NATURE WHATSOEVER, RESULTING FROM YOUR ACCESS TO AND USE OF OUR WEBSITE,
    c. ANY UNAUTHORIZED ACCESS TO OR USE OF OUR SECURE SERVERS AND/OR ANY AND ALL PERSONAL INFORMATION AND/OR FINANCIAL
    INFORMATION STORED THEREIN,
    d. ANY INTERRUPTION OR CESSATION OF TRANSMISSION TO OR FROM OUR WEBSITE,
    e. ANY BUGS, VIRUSES, TROJAN HORSES, OR THE LIKE, WHICH MAY BE TRANSMITTED TO OR THROUGH OUR WEBSITE BY ANY THIRD PARTY, AND/OR
    f. ANY ERRORS OR OMISSIONS IN ANY CONTENT OR FOR ANY LOSS OR DAMAGE OF ANY KIND INCURRED AS A RESULT OF YOUR USE OF ANY
    CONTENT POSTED, EMAILED, TRANSMITTED, OR OTHERWISE MADE AVAILABLE VIA THE Serviporno WEBSITE, WHETHER BASED ON WARRANTY,
    CONTRACT, TORT, OR ANY OTHER LEGAL THEORY, AND WHETHER ORNOT THE COMPANY IS ADVISED OF THE POSSIBILITY OF SUCH DAMAGES. THE
    FOREGOING LIMITATION OF LIABILITY SHALL APPLY TO THE FULLEST EXTENT PERMITTED BY LAW IN THE APPLICABLE JURISDICTION. YOU
    SPECIFICALLY ACKNOWLEDGE THAT Serviporno SHALL NOT BE LIABLE FOR USER SUBMISSIONS OR THE DEFAMATORY, OFFENSIVE, OR ILLEGAL
    CONDUCT OF ANY THIRD PARTY AND THAT THE RISK OF HARM OR DAMAGE FROM THE FOREGOING RESTS ENTIRELY WITH YOU.

12. INDEMNITY
You agree to defend, indemnify and hold harmless Serviporno, its parent corporation, officers, directors, employees and agents, from and against any
and all claims, damages, obligations, losses, liabilities, costs or debt, and expenses (including but not limited to attorney's fees) arising from:

http://www.serviporno.com/terms/                                                                                                                        3/4
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    a. your use of and access to the Serviporno Website;
    b. your violation of any term of these Terms of Service;
    c. your violation of any third party right, including without limitation any copyright, property, or privacy right; or
    d. Any claim that one of your User Submissions caused damage to a third party. This defense and indemnification obligation will survive these Terms
    of Service and your use of the Serviporno Website.

You affirm that you are either more than 18 years of age or an emancipated minor, or possess legal parental or guardian consent, and are fully able and
competent to enter into the terms, conditions, obligations, affirmations, representations, and warranties set forth in these Terms of Service, and to
abide by and comply with these Terms and Conditions contained herein.

13. ASSIGNMENT
The Terms and Conditions contained herein and any rights and licenses granted hereunder, may not be transferred or assigned by you, but may be
assigned by Serviporno without restriction.

If any term, clause or provision of the agreement is held invalid or unenforceable by a court of competent jurisdiction, such invalidity shall not affect
the validity or operation of any term, clause or provision and such invalid term, clause or provision shall be deemed to be severed from this Agreement.




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       Parental Control
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